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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

              Western District of Texas

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                              ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                                 amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                              06/24
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Jose                                                            Shea
       Write the name that is on your         First name                                                      First name
       government-issued picture               Paolo                                                           Brianne
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Soriano                                                         Soriano
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.
                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have                Paolo                                                           Shea
       used in the last 8 years               First name                                                      First name
                                                                                                               Brianne
       Include your married or maiden
                                              Middle name                                                     Middle name
       names and any assumed, trade
       names and doing business as             Soriano                                                         Craig
       names.                                 Last name                                                       Last name

       Do NOT list the name of any
       separate legal entity such as a        Business name (if applicable)                                   Business name (if applicable)
       corporation, partnership, or LLC
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 3           3    7   2                               xxx - xx - 3           6    7     0
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number
                                              9xx - xx -                                                      9xx - xx -
       (ITIN)




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 Debtor 1            Jose                Paolo                       Soriano
 Debtor 2            Shea                Brianne                     Soriano                                        Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
                                                      -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN



                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          5905 Leisure Run Rd
                                          Number            Street                                        Number           Street




                                          Austin, TX 78745-3924
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Travis
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ✔ Over the last 180 days before filing this petition, I
                                                                                                          ❑
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




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 Debtor 1           Jose               Paolo                   Soriano
 Debtor 2           Shea               Brianne                 Soriano                                        Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                When                       Case number
                                                                                                       MM / DD / YYYY

                                                 District                                       When                       Case number
                                                                                                       MM / DD / YYYY

                                                 District                                       When                       Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an                District                                     When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                 Debtor                                                                 Relationship to you

                                                 District                                     When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ✔ No. Go to line 12.
                                       ❑
                                       ❑ Yes. Has your landlord obtained an eviction judgment against you?
                                                  ❑ No. Go to line 12.
                                                  ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
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 Debtor 1           Jose                   Paolo                   Soriano
 Debtor 2           Shea                   Brianne                 Soriano                                        Case number (if known)
                    First Name             Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.        Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.
                                               City                                                State            ZIP Code

                                               Check the appropriate box to describe your business:

                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set
      11 of the Bankruptcy Code,           appropriate deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance
      and are you a small business         sheet, statement of operations, cash-flow statement, and federal income tax return or if any of these documents do not
      debtor?                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
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 Debtor 1           Jose                Paolo                   Soriano
 Debtor 2           Shea                Brianne                 Soriano                                      Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
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 Debtor 1           Jose                Paolo                   Soriano
 Debtor 2           Shea                Brianne                 Soriano                                        Case number (if known)
                    First Name          Middle Name             Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                            You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                              ✔ I received a briefing from an approved credit
                                                                                                       ❑
      bankruptcy. You must truthfully       counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      check one of the following            filed this bankruptcy petition, and I received a               filed this bankruptcy petition, and I received a
      choices. If you cannot do so,         certificate of completion.                                     certificate of completion.
      you are not eligible to file.
                                            Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment
      If you file anyway, the court         plan, if any, that you developed with the agency.              plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                ❑ I received a briefing from an approved credit
      paid, and your creditors can          counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      begin collection activities           filed this bankruptcy petition, but I do not have a            filed this bankruptcy petition, but I do not have a
      again.                                certificate of completion.                                     certificate of completion.
                                            Within 14 days after you file this bankruptcy petition,        Within 14 days after you file this bankruptcy petition,
                                            you MUST file a copy of the certificate and payment            you MUST file a copy of the certificate and payment
                                            plan, if any.                                                  plan, if any.
                                        ❑ I certify that I asked for credit counseling services        ❑ I certify that I asked for credit counseling services
                                            from an approved agency, but was unable to                     from an approved agency, but was unable to
                                            obtain those services during the 7 days after I                obtain those services during the 7 days after I
                                            made my request, and exigent circumstances                     made my request, and exigent circumstances
                                            merit a 30-day temporary waiver of the                         merit a 30-day temporary waiver of the
                                            requirement.                                                   requirement.
                                            To ask for a 30-day temporary waiver of the                    To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining                requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why you          what efforts you made to obtain the briefing, why you
                                            were unable to obtain it before you filed for                  were unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                     bankruptcy, and what exigent circumstances
                                            required you to file this case.                                required you to file this case.

                                             Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                             If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                             along with a copy of the payment plan you                      along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                             be dismissed.                                                  be dismissed.

                                             Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                             for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit         ❑ I am not required to receive a briefing about credit
                                            counseling because of:                                         counseling because of:
                                            ❑ Incapacity. I have a mental illness or a mental              ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me                                      deficiency that makes me
                                                               incapable of realizing or making                              incapable of realizing or making
                                                               rational decisions about finances.                            rational decisions about finances.
                                            ❑ Disability.      My physical disability causes me            ❑ Disability.     My physical disability causes me
                                                               to be unable to participate in a                              to be unable to participate in a
                                                               briefing in person, by phone, or                              briefing in person, by phone, or
                                                               through the internet, even after I                            through the internet, even after I
                                                               reasonably tried to do so.                                    reasonably tried to do so.
                                            ❑ Active duty. I am currently on active military               ❑ Active duty. I am currently on active military
                                                               duty in a military combat zone.                               duty in a military combat zone.

                                             If you believe you are not required to receive a               If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.

Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
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 Debtor 1           Jose                  Paolo                    Soriano
 Debtor 2           Shea                  Brianne                  Soriano                                          Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ✔ No. Go to line 16b.
                                                   ❑
                                                   ❑ Yes. Go to line 17.
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑ No. Go to line 16c.
                                                   ✔ Yes. Go to line 17.
                                                   ❑
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                             ✔
                                             ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ✔ No
                                                           ❑
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ❑ 1-49            ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ✔ 50-99
                                              ❑                 ❑ 5,001-10,000
                                              ❑ 100-199         ❑ 10,001-25,000
                                              ❑ 200-999

  19. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                     ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ✔ $500,001-$1 million
                                              ❑                                    ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your           ❑ $0-$50,000                         ✔ $1,000,001-$10 million
                                                                                   ❑                                          ❑ $500,000,001-$1 billion
      liabilities to be?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Jose Paolo Soriano                                        ✘ /s/ Shea Brianne Soriano
                                       Jose Paolo Soriano, Debtor 1                                    Shea Brianne Soriano, Debtor 2
                                       Executed on 12/20/2024                                          Executed on 12/20/2024
                                                        MM/ DD/ YYYY                                                   MM/ DD/ YYYY




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 Debtor 1           Jose                    Paolo                   Soriano
 Debtor 2           Shea                    Brianne                 Soriano                                        Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Kannon Moore                                                     Date 12/20/2024
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                   Kannon Moore
                                                  Printed name

                                                   Kannon Moore Law
                                                  Firm name

                                                   7500 Rialto Blvd 1-250
                                                  Number           Street




                                                   Austin                                                          TX       78735
                                                  City                                                             State   ZIP Code




                                                  Contact phone (512) 379-8080                       Email address kannon@kannonmoorelaw.com


                                                   24110128                                                        TX
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
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 Fill in this information to identify your case and this filing:

  Debtor 1                 Jose                         Paolo                        Soriano
                           First Name                  Middle Name                  Last Name

  Debtor 2                 Shea                         Brianne                      Soriano
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                         Western                    District of           Texas

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      Homestead                                        ✔ Single-family home
                                                                  ❑                                                                     the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                 5905 Leisure Run Rd                              ❑ Land
                                                                  ❑ Investment property                                                            $544,523.00                 $544,523.00
                 Austin, TX 78745-3924                            ❑ Timeshare                                                          Describe the nature of your ownership interest
                City               State         ZIP Code
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                 Travis                                           Who has an interest in the property? Check one.                      a life estate), if known.
                County                                            ❑ Debtor 1 only                                                       Fee Simple
                                                                  ❑ Debtor 2 only
                                                                  ✔ Debtor 1 and Debtor 2 only
                                                                  ❑                                                                    ✔ Check if this is community property
                                                                                                                                       ❑
                                                                  ❑ At least one of the debtors and another                                 (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:

                                                                  Source of Value: CAD



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                               $544,523.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑


Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
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                                              104
Debtor Soriano, Jose Paolo; Soriano, Shea Brianne                                                                           Case number (if known)



       3.1     Make:                          Chevrolet          Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                 Silverado 1500             ✔ Debtor 2 only
                                                                 ❑                                                                     Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2024              ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            15000.00          ✔ Check if this is community property (see
                                                                 ❑                                                                                  $50,451.00                 $50,451.00
                                                                      instructions)
               Other information:

                Source of Value: KBB
                VIN: 3GCPAEE85RG198400

       If you own or have more than one, describe here:

       3.2     Make:                           BMW               Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                          x5                ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2022              ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            20000.00          ✔ Check if this is community property (see
                                                                 ❑                                                                                  $43,839.00                 $43,839.00
                                                                      instructions)
               Other information:

                Source of Value: KBB
                VIN: 5UXCR4C04N9K65804


 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                               $94,290.00



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable                  Current value of the portion you own?
 interest in any of the following items?                    Do not deduct secured claims or exemptions.




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 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            Dining set, kitchen essentials, dresser, night stand, bed room sets, living                        $4,000.00
                                    room furniture and decor

 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            Phones (2), Tvs (2), Ipads (2), Speakers, headphones, computer and other                           $2,200.00
                                    small electronics

 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                $600.00
                                    Handgun and assault rifle


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                               $1,000.00
                                    Shirts, dresses, pants, shorts, shoes, hats and other accessories


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                               $3,000.00
                                    Watches, rings, necklaces, and other miscellaneous costume jewelry




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 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                                                     $200.00
                                                   Supply for two small dogs


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                                    ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                                        $11,000.00



  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                   Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................   Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                                                                               PNC Bank
                                             17.1. Checking account:                           Account Number: XXXXXX4407                                                                                       $0.00

                                                                                               PNC Bank
                                             17.2. Checking account:                           Account Number: 5932                                                                                        $1,890.56

                                                                                               UFCU
                                             17.3. Checking account:                           Account Number: 2668                                                                                          $429.00

                                                                                               PNC Bank
                                             17.4. Savings account:                            Account Number: XXXXXXX924                                                                                       $0.00

                                                                                               PNC Bank
                                             17.5. Savings account:                            Account Number: XXXXXXX959                                                                                       $0.00

                                                                                               UFCU
                                             17.6. Savings account:                            Account Number: 2668                                                                                             $0.00

                                             17.7. Other financial account:                    Apple Cash                                                                                                       $0.00

                                             17.8. Other financial account:                    Venmo Account                                                                                                    $0.00

                                             17.9. Other financial account:                    Zelle Account                                                                                                    $0.00



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 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................    Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Name of entity:                                                       % of ownership:




 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each
       ❑
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:    PWC 401k                                                            $51,688.49

                                      Additional account:        PWC - Wealth Builder Plan                                           $22,488.32




Official Form 106A/B                                                       Schedule A/B: Property                                        page 5
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 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                        Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...




Official Form 106A/B                                                      Schedule A/B: Property                                           page 6
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 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                them, including whether you                                                                  Federal:
                already filed the returns and
                the tax years. ...................                                                           State:

                                                                                                             Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                             Alimony:

                                                                                                             Maintenance:

                                                                                                             Support:

                                                                                                             Divorce settlement:

                                                                                                             Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........




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 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes. Name the insurance company
       ❑
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                       Surrender or refund value:

                                                                                                                                 Shea Brianne Soriano or
                                                                      Guardian Term Life insurance                               Jose Paolo Soriano                                                   $0.00

                                                                      Guardian Whole Life Insurance                              Shea Brianne Soriano                                               $618.78


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                              $77,115.15



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ❑ No. Go to Part 6.
       ✔ Yes. Go to line 38.
       ❑
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                      page 8
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 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                           $500.00
                                     Miscellaneous office furniture of low value


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                 Name of entity:                                                         % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ❑ No
                ❑ Yes. Describe. .........




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 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                               $500.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................




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Debtor Soriano, Jose Paolo; Soriano, Shea Brianne                                                                                          Case number (if known)



 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                                  $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                 $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔       $544,523.00


 56.   Part 2: Total vehicles, line 5                                                                              $94,290.00

 57.   Part 3: Total personal and household items, line 15                                                         $11,000.00

 58.   Part 4: Total financial assets, line 36                                                                     $77,115.15

 59.   Part 5: Total business-related property, line 45                                                                 $500.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                         $182,905.15               Copy personal property total             ➔   +   $182,905.15



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                               $727,428.15




Official Form 106A/B                                                                         Schedule A/B: Property                                                                               page 11
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                                                104
 Fill in this information to identify your case:

  Debtor 1            Jose                     Paolo                Soriano
                      First Name             Middle Name           Last Name

  Debtor 2            Shea                     Brianne              Soriano
  (Spouse, if filing) First Name             Middle Name           Last Name

  United States Bankruptcy Court for the:                Western              District of        Texas

  Case number
  (if known)                                                                                                                            ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and        Current value of the       Amount of the exemption you claim             Specific laws that allow exemption
       line on Schedule A/B that lists this         portion you own
       property                                                                Check only one box for each exemption.
                                                    Copy the value from
                                                    Schedule A/B

       Brief             Homestead                         $544,523.00
       description:      5905 Leisure Run Rd
                         Austin, TX 78745-3924                                 ✔
                                                                               ❑            $11,744.00                       Const. art. 16 §§ 50, 51, Texas
       Line from                                                               ❑ 100% of fair market value, up to            Prop. Code §§ 41.001-.002
       Schedule A/B:         1.1                                                    any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                              page 1 of 5
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Debtor 2            Shea               Brianne              Soriano
                First Name             Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and     Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     line on Schedule A/B that lists this      portion you own
     property                                                          Check only one box for each exemption.
                                               Copy the value from
                                               Schedule A/B

     Brief             2022 BMW x5                     $43,839.00
     description:      VIN:
                       5UXCR4C04N9K65804                               ✔
                                                                       ❑        $2,971.10                          Tex. Prop. Code §§ 42.001(a),
     Line from                                                         ❑ 100% of fair market value, up to          42.002(a)(9)
     Schedule A/B:         3.1                                             any applicable statutory limit

     Brief             2024 Chevrolet                  $50,451.00
     description:      Silverado 1500
                       VIN:
                       3GCPAEE85RG198400                               ✔
                                                                       ❑          $0.00                            Tex. Prop. Code §§ 42.001(a),
     Line from                                                         ❑ 100% of fair market value, up to          42.002(a)(9)
     Schedule A/B:         3.2                                             any applicable statutory limit

     Brief             Dining set, kitchen              $4,000.00
     description:      essentials, dresser,
                       night stand, bed
                       room sets, living
                       room furniture and
                       decor                                           ✔
                                                                       ❑        $4,000.00                          Tex. Prop. Code §§ 42.001(a),
     Line from                                                         ❑   100% of fair market value, up to
                                                                                                                   42.002(a)(1)
     Schedule A/B:         6                                               any applicable statutory limit

     Brief             Phones (2), Tvs (2),             $2,200.00
     description:      Ipads (2),
                       Speakers,
                       headphones,
                       computer and
                       other small
                       electronics                                     ✔
                                                                       ❑        $2,200.00                          Tex. Prop. Code §§ 42.001(a),
     Line from                                                         ❑ 100% of fair market value, up to          42.002(a)(1)
     Schedule A/B:         7                                               any applicable statutory limit

     Brief             Handgun and                        $600.00
     description:      assault rifle                                   ✔
                                                                       ❑         $600.00                           Tex. Prop. Code §§ 42.001(a),
     Line from                                                         ❑ 100% of fair market value, up to          42.002(a)(7)
     Schedule A/B:         10                                              any applicable statutory limit




Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                       page 2 of 5
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Debtor 2            Shea                  Brianne             Soriano
                First Name               Middle Name          Last Name



   Part 2:      Additional Page

     Brief description of the property and        Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     line on Schedule A/B that lists this         portion you own
     property                                                             Check only one box for each exemption.
                                                  Copy the value from
                                                  Schedule A/B

     Brief             Shirts, dresses,                   $1,000.00
     description:      pants, shorts,
                       shoes, hats and
                       other accessories                                  ✔
                                                                          ❑        $1,000.00                          Tex. Prop. Code §§ 42.001(a),
     Line from                                                            ❑ 100% of fair market value, up to          42.002(a)(5)
     Schedule A/B:         11                                                 any applicable statutory limit

     Brief             Watches, rings,                    $3,000.00
     description:      necklaces, and
                       other
                       miscellaneous
                       costume jewelry                                    ✔
                                                                          ❑        $3,000.00                          Tex. Prop. Code §§ 42.001(a),
     Line from                                                            ❑   100% of fair market value, up to
                                                                                                                      42.002(a)(6)
     Schedule A/B:         12                                                 any applicable statutory limit

     Brief             Supply for two                       $200.00
                                                                          ✔
     description:      small dogs                                         ❑         $200.00                           Tex. Prop. Code §§ 42.001(a),
     Line from                                                            ❑ 100% of fair market value, up to          42.002(a)(11)
     Schedule A/B:         13                                                 any applicable statutory limit

     Brief             PNC Bank                           $1,890.56
     description:      Checking account
                       Acct. No.: 5932                                    ✔
                                                                          ❑        $1,890.56                          15 U.S.C. § 1673
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:         17                                                 any applicable statutory limit

     Brief             UFCU                                 $429.00
     description:      Checking account
                       Acct. No.: 2668                                    ✔
                                                                          ❑         $429.00                           15 U.S.C. § 1673
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:         17                                                 any applicable statutory limit

     Brief             UFCU                                    $0.00
     description:      Savings account
                       Acct. No.: 2668                                    ✔
                                                                          ❑          $0.00                            15 U.S.C. § 1673
     Line from                                                            ❑   100% of fair market value, up to
     Schedule A/B:         17                                                 any applicable statutory limit

     Brief             Apple Cash                              $0.00
     description:      Other financial account                            ✔
                                                                          ❑          $0.00                            15 U.S.C. § 1673
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:         17                                                 any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                        page 3 of 5
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                                              104
Debtor 1            Jose                  Paolo               Soriano                        Case number (if known)
Debtor 2            Shea                  Brianne             Soriano
                First Name               Middle Name          Last Name



   Part 2:      Additional Page

     Brief description of the property and        Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     line on Schedule A/B that lists this         portion you own
     property                                                             Check only one box for each exemption.
                                                  Copy the value from
                                                  Schedule A/B

     Brief             Zelle Account                           $0.00
                                                                          ✔
     description:      Other financial account
                                                                          ❑          $0.00                            15 U.S.C. § 1673
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:         17                                                 any applicable statutory limit

     Brief             PNC Bank                                $0.00
     description:      Checking account
                       Acct. No.: XXXXXX4407                              ✔
                                                                          ❑          $0.00                            15 U.S.C. § 1673
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:         17                                                 any applicable statutory limit

     Brief             PNC Bank                                $0.00
     description:      Savings account
                       Acct. No.: XXXXXXX924                              ✔
                                                                          ❑          $0.00                            15 U.S.C. § 1673
     Line from                                                            ❑   100% of fair market value, up to
     Schedule A/B:         17                                                 any applicable statutory limit

     Brief             PNC Bank                                $0.00
     description:      Savings account
                       Acct. No.: XXXXXXX959                              ✔
                                                                          ❑          $0.00                            15 U.S.C. § 1673
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:         17                                                 any applicable statutory limit

     Brief             Venmo Account                           $0.00
                                                                          ✔
     description:      Other financial account
                                                                          ❑          $0.00                            15 U.S.C. § 1673
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:         17                                                 any applicable statutory limit

     Brief             PWC 401k                          $51,688.49
     description:                                                         ✔
                                                                          ❑       $51,688.49                          Tex. Prop. Code § 42.0021
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:         21                                                 any applicable statutory limit

     Brief             PWC - Wealth                      $22,488.32
                                                                          ✔
     description:      Builder Plan                                       ❑       $22,488.32                          Tex. Prop. Code § 42.0021
     Line from                                                            ❑   100% of fair market value, up to
     Schedule A/B:         21                                                 any applicable statutory limit

     Brief             Guardian Whole                       $618.78
     description:      Life Insurance                                     ✔
                                                                          ❑         $618.78                           Tex. Ins. Code §§ 1108.001,
     Line from                                                            ❑ 100% of fair market value, up to          1108.051
     Schedule A/B:         31                                                 any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                        page 4 of 5
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                                              104
Debtor 1            Jose              Paolo                Soriano                       Case number (if known)
Debtor 2            Shea              Brianne              Soriano
                First Name            Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and    Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     line on Schedule A/B that lists this     portion you own
     property                                                         Check only one box for each exemption.
                                              Copy the value from
                                              Schedule A/B

     Brief             Guardian Term Life                  $0.00
                                                                      ✔
     description:      insurance                                      ❑          $0.00                            Tex. Ins. Code §§ 1108.001,
     Line from                                                        ❑ 100% of fair market value, up to          1108.051
     Schedule A/B:         31                                             any applicable statutory limit

     Brief             Miscellaneous                     $500.00
     description:      office furniture of
                       low value                                      ✔
                                                                      ❑         $500.00                           Tex. Prop. Code §§ 42.001(a),
     Line from                                                        ❑ 100% of fair market value, up to          42.002(a)(4)
     Schedule A/B:         39                                             any applicable statutory limit




Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                       page 5 of 5
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                                                 104
 Fill in this information to identify your case:

     Debtor 1           Jose                   Paolo                  Soriano
                        First Name             Middle Name           Last Name

     Debtor 2           Shea                   Brianne                Soriano
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:              Western               District of       Texas

     Case number (if
     known)                                                                                                                                 ❑ Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor           Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other         Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the    Do not deduct the
                                                                                                                                    that supports this    portion
         creditor’s name.                                                                                    value of collateral.
                                                                                                                                    claim                 If any

     2.1 Ally Financial                                Describe the property that secures the claim:                  $58,034.00           $50,451.00       $7,583.00
         Creditor’s Name
                                                       2024 Chevrolet Silverado 1500
          Po Box 380901
         Number          Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       ❑ Contingent
          Minneapolis, MN 55438                        ❑ Unliquidated
         City               State       ZIP Code       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                             ✔ An agreement you made (such as mortgage or secured car loan)
                                                       ❑
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ❑ Other (including a right to
              another                                      offset)
         ✔ Check if this claim relates to a
         ❑
              community debt
         Date debt was incurred                        Last 4 digits of account number

         Add the dollar value of your entries in Column A on this page. Write that number here:                    $58,034.00




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 2
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                                              104
Debtor 1        Jose                  Paolo                   Soriano                          Case number (if known)
Debtor 2        Shea                  Brianne                 Soriano
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.2 BMW BANK OF NORTH                          Describe the property that secures the claim:                  $40,867.90           $43,839.00                $0.00
       AMERICA
      Creditor’s Name                            2022 BMW x5
       P.O. BOX 78066
                                                 As of the date you file, the claim is: Check all that apply.
      Number         Street
                                                 ❑ Contingent
                                                 ❑ Unliquidated
       Phoenix, AZ 85062                         ❑ Disputed
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ✔ Debtor 2 only
      ❑                                          ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ✔ Check if this claim relates to a
      ❑
           community debt
      Date debt was incurred                     Last 4 digits of account number         5    1   3    9

  2.3 PennyMac Loan Services LLC                 Describe the property that secures the claim:              $532,779.00             $544,523.00                $0.00
      Creditor’s Name
                                                 Homestead
       PO Box BOX 514387
                                                 5905 Leisure Run Rd Austin, TX 78745-3924
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Los Angeles, CA 90051
                                                 ❑ Unliquidated
      City              State      ZIP Code
                                                 ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ✔ Debtor 2 only
      ❑                                          ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ✔ Check if this claim relates to a
      ❑
           community debt
      Date debt was incurred     02/11/2022      Last 4 digits of account number         E    0   0    1

      Add the dollar value of your entries in Column A on this page. Write that number here:                $573,646.90
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                            $631,680.90
      Write that number here:

Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 2
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                                                104
 Fill in this information to identify your case:

  Debtor 1            Jose                    Paolo                    Soriano
                     First Name              Middle Name              Last Name

  Debtor 2            Shea                    Brianne                  Soriano
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                 Western                District of       Texas

  Case number
  (if known)                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ❑ No. Go to Part 2.
        ✔ Yes.
        ❑
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
        claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
        amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
        fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                             Total claim      Priority        Nonpriority
                                                                                                                                              amount          amount
  2.1 Texas Comptroller                                 Last 4 digits of account number                                       $31,155.91       $31,155.91            $0.00
        Priority Creditor’s Name
                                                        When was the debt incurred?                      2024
         Lyndon B. Johnson State Office
         Bldg
         111 East 17th Street                           As of the date you file, the claim is: Check all that apply.
        Number         Street                           ❑ Contingent
         Austin, TX 78774                               ❑ Unliquidated
        City               State          ZIP Code      ❑ Disputed
        Who incurred the debt? Check one.               Type of PRIORITY unsecured claim:
        ✔ Debtor 1 only
        ❑                                               ❑ Domestic support obligations
        ❑ Debtor 2 only                                 ✔ Taxes and certain other debts you owe the government
                                                        ❑
        ❑ Debtor 1 and Debtor 2 only                    ❑ Claims for death or personal injury while you were intoxicated
        ❑ At least one of the debtors and another       ❑ Other. Specify
        ✔ Check if this claim is for a
        ❑
            community debt

        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
        Remarks: 400 Colorado LLC - Debt for 2024




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 33
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                                              104
Debtor 1        Jose                     Paolo                Soriano                          Case number (if known)
Debtor 2        Shea                     Brianne              Soriano
                First Name              Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.           Total claim   Priority      Nonpriority
                                                                                                                                amount        amount
  2.2 Texas Comptroller                            Last 4 digits of account number                                 $70,232.40    $70,232.40        $0.00
      Priority Creditor’s Name
                                                   When was the debt incurred?                   2024
      Lyndon B. Johnson State Office
      Bldg
      111 East 17th Street                         As of the date you file, the claim is: Check all that apply.
      Number        Street                         ❑ Contingent
      Austin, TX 78774                             ❑ Unliquidated
      City              State           ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.            Type of PRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                            ❑ Domestic support obligations
      ❑ Debtor 2 only                              ✔ Taxes and certain other debts you owe the government
                                                   ❑
      ❑ Debtor 1 and Debtor 2 only                 ❑ Claims for death or personal injury while you were intoxicated
      ❑ At least one of the debtors and another    ❑ Other. Specify
      ✔ Check if this claim is for a
      ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: 504 W 24th Street Suite B OpCo LLC - Debt for 2024




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       page 2 of 33
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                                              104
Debtor 1        Jose                     Paolo                Soriano                          Case number (if known)
Debtor 2        Shea                     Brianne              Soriano
                First Name              Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.           Total claim     Priority      Nonpriority
                                                                                                                                  amount        amount
  2.3 Texas Comptroller                            Last 4 digits of account number                                 $46,991.06      $46,991.06        $0.00
      Priority Creditor’s Name
                                                   When was the debt incurred?                   2024
      Lyndon B. Johnson State Office
      Bldg
      111 East 17th Street                         As of the date you file, the claim is: Check all that apply.
      Number        Street                         ❑ Contingent
      Austin, TX 78774                             ❑ Unliquidated
      City              State           ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.            Type of PRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                            ❑ Domestic support obligations
      ❑ Debtor 2 only                              ✔ Taxes and certain other debts you owe the government
                                                   ❑
      ❑ Debtor 1 and Debtor 2 only                 ❑ Claims for death or personal injury while you were intoxicated
      ❑ At least one of the debtors and another    ❑ Other. Specify
      ✔ Check if this claim is for a
      ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: 110 E. Riverside Opco LLC - Debt for 2024
  2.4 Texas Comptroller                            Last 4 digits of account number                                    $8,833.39    $8,833.39         $0.00
      Priority Creditor’s Name
                                                   When was the debt incurred?                   2024
      Lyndon B. Johnson State Office
      Bldg
      111 East 17th Street                         As of the date you file, the claim is: Check all that apply.
      Number        Street                         ❑ Contingent
      Austin, TX 78774                             ❑ Unliquidated
      City              State           ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.            Type of PRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                            ❑ Domestic support obligations
      ❑ Debtor 2 only                              ✔ Taxes and certain other debts you owe the government
                                                   ❑
      ❑ Debtor 1 and Debtor 2 only                 ❑ Claims for death or personal injury while you were intoxicated
      ❑ At least one of the debtors and another    ❑ Other. Specify
      ✔ Check if this claim is for a
      ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: 720 Space ATX LLC - Debt for 2024




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3 of 33
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                                                104
Debtor 1           Jose                    Paolo                    Soriano                           Case number (if known)
Debtor 2           Shea                    Brianne                  Soriano
                  First Name               Middle Name             Last Name

      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 2016 Tiger Terrance                                                Last 4 digits of account number                                                       unknown
        Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         c/o Abigal Ventress
         4-6 N Lee Street Suite 103                                      As of the date you file, the claim is: Check all that apply.
                                                                         ❑ Contingent
        Number              Street
         Round Rock, TX 78664                                            ❑ Unliquidated
        City                      State                   ZIP Code       ❑ Disputed
        Who incurred the debt? Check one.
                                                                         Type of NONPRIORITY unsecured claim:
        ✔ Debtor 1 only
        ❑                                                                ❑ Student loans
        ❑ Debtor 2 only                                                  ❑ Obligations arising out of a separation agreement or divorce that you did not report as
        ❑ Debtor 1 and Debtor 2 only                                         priority claims
        ❑ At least one of the debtors and another                        ❑ Debts to pension or profit-sharing plans, and other similar debts
        ✔ Check if this claim is for a community debt
        ❑                                                                ✔ Other. Specify Business Debts
                                                                         ❑
        Is the claim subject to offset?
        ❑ No
        ✔ Yes
        ❑
  4.2 968 W Veterans Realty LLC                                          Last 4 digits of account number                                                      $13,977.50
        Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                 07/01/2024
         dba Aspire Funding Platform
         7901 4TH ST N STE 300
                                                                         As of the date you file, the claim is: Check all that apply.
        Number              Street
                                                                         ❑ Contingent
         Saint Petersburg, FL 33702
                                                                         ❑ Unliquidated
        City                      State                   ZIP Code
                                                                         ❑ Disputed
        Who incurred the debt? Check one.
                                                                         Type of NONPRIORITY unsecured claim:
        ✔ Debtor 1 only
        ❑
                                                                         ❑ Student loans
        ❑ Debtor 2 only
                                                                         ❑ Obligations arising out of a separation agreement or divorce that you did not report as
        ❑ Debtor 1 and Debtor 2 only                                         priority claims
        ❑ At least one of the debtors and another                        ❑ Debts to pension or profit-sharing plans, and other similar debts
        ✔ Check if this claim is for a community debt
        ❑                                                                ✔ Other. Specify Business Debts
                                                                         ❑
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 4 of 33
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                                              104
Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.3 Allen Ojeda                                                Last 4 digits of account number                                                  unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      12800 Briar Forest Dr #45
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Houston, TX 77077                                          ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ❑ No
      ✔ Yes
      ❑
  4.4 American Express                                           Last 4 digits of account number         7    5   3    3                         $16,996.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 02/15/2020
      Po Box 6031
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Carol Stream, IL 60197-6031
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 33
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                                              104
Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.5 American Express                                           Last 4 digits of account number         4    9   3    3                          $4,429.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 09/06/2022
      Po Box 6031
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Carol Stream, IL 60197-6031
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.6 American Express                                           Last 4 digits of account number         2    8   4    3                         $78,492.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/29/2021
      Po Box 6031
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Carol Stream, IL 60197-6031
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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                                              104
Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.7 American Express                                           Last 4 digits of account number         1    0   0    1                         $42,436.61
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      Po Box 6031
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Carol Stream, IL 60197-6031
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.8 Capital One                                                Last 4 digits of account number         2    2   0    8                          $1,592.68
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/06/2018
      Po Box 31293
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Salt Lake Cty, UT 84131-0293
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo               Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne             Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.9 Capital One                                                Last 4 digits of account number         3    0   7    8                         $1,838.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 02/22/2019
       Po Box 31293
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Salt Lake Cty, UT 84131-0293
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.10 Capital One                                                Last 4 digits of account number         9    8   0    3                         $1,889.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/07/2023
       Po Box 31293
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Salt Lake Cty, UT 84131-0293
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.11 Capital One                                                 Last 4 digits of account number         8    7   6    4                          $9,925.42
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/29/2021
      Po Box 31293
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Salt Lake Cty, UT 84131-0293
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.12 Carter Sackman Jr.                                          Last 4 digits of account number                                                 $30,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 08/23/2024
      2308 Holly Street
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Austin, TX 78702
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.13 Comprehensive Merchant                                      Last 4 digits of account number                                                 $47,135.80
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 06/11/2024
      9821 E. Bay Harbor Dr. 706 706
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Miami Beach, FL 33154
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.14 Department of Education                                     Last 4 digits of account number         1    2   0    3                         $10,296.41
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      Office of General Counsel
      400 Maryland Ave, SW Room 6E353
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
      Washington, DC 20202
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                 ❑ Student loans
      ❑ Debtor 2 only
                                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo                Soriano                        Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.15 Department of Education                                     Last 4 digits of account number         1    4   5    7                         $11,512.95
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Office of General Counsel
       400 Maryland Ave, SW Room 6E353
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Washington, DC 20202
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ✔ Student loans
                                                                 ❑
      ❑ Debtor 2 only
                                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.16 Department of Education                                     Last 4 digits of account number         1    4   6    8                          $9,823.04
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Office of General Counsel
       400 Maryland Ave, SW Room 6E353
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Washington, DC 20202
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                 ❑ Student loans
      ❑ Debtor 2 only
                                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.17 Department of Education                                     Last 4 digits of account number         1    4   7    2                         $10,815.18
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      Office of General Counsel
      400 Maryland Ave, SW Room 6E353
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
      Washington, DC 20202
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                 ❑ Student loans
      ❑ Debtor 2 only
                                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.18 Department of Education                                     Last 4 digits of account number         5    2   2    2                          $1,249.23
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      Office of General Counsel
      400 Maryland Ave, SW Room 6E353
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
      Washington, DC 20202
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                 ❑ Student loans
      ❑ Debtor 2 only
                                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo               Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne             Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.19 Dept of Ed / Nelnet                                        Last 4 digits of account number         0    0   0    0                           $137.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 08/19/2009
       Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lincoln, NE 68501-2561
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.20 Dept of Ed / Nelnet                                        Last 4 digits of account number         0    0   0    0                           $131.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 05/25/2010
       Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lincoln, NE 68501-2561
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo               Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne             Soriano
               First Name               Middle Name         Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.21 Dept of Ed / Nelnet                                        Last 4 digits of account number         0    0   0    0                           $245.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 08/20/2010
       Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lincoln, NE 68501-2561
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.22 Dept of Ed / Nelnet                                        Last 4 digits of account number         0    0   0    0                           $257.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 05/25/2010
       Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lincoln, NE 68501-2561
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo               Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne             Soriano
               First Name               Middle Name         Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.23 Dept of Ed / Nelnet                                        Last 4 digits of account number         0    0   0    0                           $242.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 08/20/2010
       Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lincoln, NE 68501-2561
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.24 Dept of Ed / Nelnet                                        Last 4 digits of account number         0    0   0    0                           $268.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 08/16/2011
       Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lincoln, NE 68501-2561
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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                                              104
Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.25 Dept of Ed / Nelnet                                         Last 4 digits of account number         0    0   0    0                            $117.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 08/16/2011
      Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Lincoln, NE 68501-2561
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.26 Divvy Loans                                                 Last 4 digits of account number                                                 $60,296.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      BILL's
      6220 America Center Drive suite 100                        As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      Alviso, CA 95002                                           ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.27 Divvy Loans                                                 Last 4 digits of account number                                                  $7,938.20
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      BILL's
      6220 America Center Drive suite 100                        As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      Alviso, CA 95002                                           ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.28 Divvy Loans                                                 Last 4 digits of account number                                                 $12,817.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      BILL's
      6220 America Center Drive suite 100                        As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      Alviso, CA 95002                                           ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo                    Soriano                        Case number (if known)
Debtor 2        Shea                    Brianne                  Soriano
                First Name              Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                            Total claim
4.29 Eastside Boilers                                              Last 4 digits of account number                                                   unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      c/o Gregory Pitt
      160 Wildhorse Crk                                            As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
      Number            Street
      Buda, TX 78610                                               ❑ Unliquidated
      City                   State                    ZIP Code     ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                            ✔ Other. Specify Business Debts
                                                                   ❑
      Is the claim subject to offset?
      ❑ No
      ✔ Yes
      ❑
4.30 First United Bank                                             Last 4 digits of account number                                                 $500,000.00
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      P.O. BOX 130
      Number            Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
      Durant, OK 74702                                             ❑ Unliquidated
      City                   State                    ZIP Code     ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                            ✔ Other. Specify Line of Credit
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.31 Funding Metrics LLC                                         Last 4 digits of account number                                                 $81,378.07
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?               06/07/2024
      3220 Tillman Drive Suite 200
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Bensalem, PA 19020
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.32 Godspeed Talent                                             Last 4 digits of account number                                                  unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      c/o Sam Kulka
      2607 Trailside Dr #3                                       As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      Austin, TX 78704                                           ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ❑ No
      ✔ Yes
      ❑




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Debtor 1        Jose                    Paolo                Soriano                          Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
                First Name              Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.33 Horizon Bank                                               Last 4 digits of account number                                                    unknown
      Nonpriority Creditor’s Name
                                                                When was the debt incurred?
      600 W 5th Street
      Number            Street
                                                                As of the date you file, the claim is: Check all that apply.
                                                                ❑ Contingent
      Austin, TX 78701                                          ❑ Unliquidated
      City                   State                ZIP Code      ❑ Disputed
      Who incurred the debt? Check one.
                                                                Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                         ❑ Student loans
      ❑ Debtor 2 only                                           ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                 priority claims
      ❑ At least one of the debtors and another                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                         ✔ Other. Specify Business Debts
                                                                ❑
      Is the claim subject to offset?
      ❑ No
      ✔ Yes
      ❑
4.34 inKind Cards Inc.                                          Last 4 digits of account number                                                $1,463,414.60
      Nonpriority Creditor’s Name
                                                                When was the debt incurred?               01/31/2024
      inKind Credit Fund LP
      600 Congress Ave 1700
                                                                As of the date you file, the claim is: Check all that apply.
      Number            Street
                                                                ❑ Contingent
      Austin, TX 78701
                                                                ❑ Unliquidated
      City                   State                ZIP Code
                                                                ❑ Disputed
      Who incurred the debt? Check one.
                                                                Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                ❑ Student loans
      ❑ Debtor 2 only
                                                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                 priority claims
      ❑ At least one of the debtors and another                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                         ✔ Other. Specify Business Debts
                                                                ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo                    Soriano                        Case number (if known)
Debtor 2        Shea                    Brianne                  Soriano
                First Name              Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                            Total claim
4.35 Itria Ventures LLC                                            Last 4 digits of account number                                                 $318,000.00
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      1 Penn Plaza #4915
      Number            Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
      New York, NY 10119                                           ❑ Unliquidated
      City                   State                    ZIP Code     ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                            ✔ Other. Specify Business Debts
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.36 Jane Doe                                                      Last 4 digits of account number                                                   unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      c/o Louie Cook
      653 Everhard RD STE 105                                      As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
      Number            Street
      Corpus Christi, TX 78411                                     ❑ Unliquidated
      City                   State                    ZIP Code     ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                            ✔ Other. Specify Business Debts
                                                                   ❑
      Is the claim subject to offset?
      ❑ No
      ✔ Yes
      ❑




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Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.37 Jesusa Bargas                                               Last 4 digits of account number                                                  unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      c/o Dario Bargas JR
      5114 Balcones Woods Drive Ste 307                          As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      Austin, TX 78759                                           ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ❑ No
      ✔ Yes
      ❑
4.38 JPMCB - Card Services                                       Last 4 digits of account number         4    7   2    0                         $33,124.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 05/11/2017
      301 N Walnut St
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Wilmington, DE 19801-4050
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo               Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne             Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.39 Mackay Perry                                               Last 4 digits of account number                                                 unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       c/o Emily Frost
       2499 S Capital of Texas Hwy                               As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Austin, TX 78746                                          ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ❑ No
      ✔ Yes
      ❑
 4.40 Martin Amps                                                Last 4 digits of account number                                                 unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       c/o Austin Kirst
       303 Camp Craft Rd. Suite 325                              As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Austin, TX 78746                                          ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ❑ No
      ✔ Yes
      ❑




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Debtor 1        Jose                    Paolo               Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne             Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.41 Michael Sellman                                            Last 4 digits of account number                                                 unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       c/o Boone A. Almanza
       2301 S Capital of Texas HWY BLDG H                        As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Austin, TX 78746                                          ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ❑ No
      ✔ Yes
      ❑
 4.42 Pacific Seafood Group                                      Last 4 digits of account number                                                 $1,634.44
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       3019 NE Interstate 410 Loop
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       San Antonio, TX 78218                                     ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo               Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne             Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.43 Pacific Seafood Group                                      Last 4 digits of account number                                                   $765.22
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       3019 NE Interstate 410 Loop
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       San Antonio, TX 78218                                     ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.44 Ricardo Alfonso Vega Castro                                Last 4 digits of account number                                                 unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       c/o John Duff
       719 S Shoreline BLVD                                      As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Corpus Christi, TX 78401                                  ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ❑ No
      ✔ Yes
      ❑




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                                              104
Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
                First Name              Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.45 Rich Gottbrath                                              Last 4 digits of account number                                                 $115,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?               08/23/2024
      1602 S 3rd
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Austin, TX 78704
                                                                 ❑ Unliquidated
      City                   State                    ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.46 Ryan Keas                                                   Last 4 digits of account number                                                 $41,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?               08/16/2023
      8001 S I35 Frontage Rd 621
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Austin, TX 78744
                                                                 ❑ Unliquidated
      City                   State                    ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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                                              104
Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.47 Ryan OMalley                                                Last 4 digits of account number                                                 $10,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      218 8th street
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Hermosa Beach, CA 90254                                    ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.48 Samuel Coon                                                 Last 4 digits of account number                                                 $55,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      3939 Bee Cave Road
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Austin, TX 78746                                           ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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                                              104
Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.49 Sofi Bank                                                   Last 4 digits of account number        L     1   5    8                         $78,335.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                11/16/2023
      2750 E Cottonwood Pkwy
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Salt Lake City, UT 84121
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Unsecured Loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.50 Sysco Credit Department                                     Last 4 digits of account number                                                  $2,257.77
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      2130 Queens Chapel Rd
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Washington, DC 20018                                       ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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                                              104
Debtor 1        Jose                    Paolo               Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne             Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.51 Sysco Credit Department                                    Last 4 digits of account number                                                 $1,186.24
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       2130 Queens Chapel Rd
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Washington, DC 20018                                      ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.52 University Federal Credit Union                            Last 4 digits of account number         0    1   7    2                         $1,850.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 03/10/2009
       8303 N MOPAC EXPY
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Austin, TX 78759
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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                                              104
Debtor 1        Jose                    Paolo                Soriano                          Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
                First Name              Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.53 VeraBank, National Association                              Last 4 digits of account number         0    1   0    5                         $118,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 04/12/2024
      1111 W 6th Street, 200
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Austin, TX 78703
                                                                 ❑ Contingent
      City                   State                    ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.54 VeraBank, National Association                              Last 4 digits of account number         1    3   7    1                         $143,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/03/2022
      1111 W 6th Street, 200
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Austin, TX 78703
                                                                 ❑ Contingent
      City                   State                    ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jose                    Paolo                Soriano                         Case number (if known)
Debtor 2        Shea                    Brianne              Soriano
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.55 VeraBank, National Association                              Last 4 digits of account number         3    6   5    4                         $82,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 07/28/2023
      1111 W 6th Street, 200
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Austin, TX 78703
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Business Debts
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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                                              104
Debtor 1        Jose                  Paolo                  Soriano                        Case number (if known)
Debtor 2        Shea                  Brianne                Soriano
               First Name             Middle Name           Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
    collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
    agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
    you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 1. Nicholas J. Zabala, Law Office LLC                            On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.31 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     P.O. Box 1359                                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Bensalem, PA 19020
    City                         State          ZIP Code
 2. Blake Rasner                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.33 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     100 N Ritchie Road #200                                                                    ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Woodway, TX 76712
    City                         State          ZIP Code
 3. Nathan Richardson                                             On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.35 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     ATTN: Counsel for Itria Ventures                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
     1415 Louisiana Street Suite 2100                             Last 4 digits of account number
    Number         Street
     Houston, TX 77002
    City                         State          ZIP Code
 4. Greenberg, Grant & Richards Inc                               On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.50 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     5858 Westheimer Road Suite 500                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Houston, TX 77057
    City                         State          ZIP Code




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Debtor 1          Jose                   Paolo                  Soriano                      Case number (if known)
Debtor 2          Shea                   Brianne                Soriano
                  First Name            Middle Name            Last Name

      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                           $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                     $157,212.76

                   6c.   Claims for death or personal injury while you were           6c.                           $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                       $0.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                           $157,212.76



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                      $11,512.95
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                           $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                           $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +            $3,409,289.41
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                         $3,420,802.36




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                                                         104
 Fill in this information to identify your case:

     Debtor 1                       Jose                 Paolo              Soriano
                                    First Name           Middle Name       Last Name

     Debtor 2                       Shea                 Brianne            Soriano
     (Spouse, if filing)            First Name           Middle Name       Last Name

     United States Bankruptcy Court for the:                           Western District of Texas

     Case number                                                                                                                        ❑ Check if this is an
     (if known)                                                                                                                             amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                             State what the contract or lease is for

2.1                                                                                            Storage Unit
         Public Storage                                                                        Contract to be ASSUMED
        Name
         1507 W William Cannon Dr
        Number             Street
         Austin, TX 78745
        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                               Schedule G: Executory Contracts and Unexpired Leases                                        page 1 of 1
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                                               104
 Fill in this information to identify your case:

  Debtor 1             Jose                   Paolo                  Soriano
                      First Name             Middle Name             Last Name

  Debtor 2             Shea                   Brianne                Soriano
  (Spouse, if filing) First Name             Middle Name             Last Name

  United States Bankruptcy Court for the:                  Western           District of        Texas

  Case number
  (if known)                                                                                                                              ❑ Check if this is an
                                                                                                                                              amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
               ❑ No
               ✔ Yes. In which community state or territory did you live?
               ❑                                                                      Texas              . Fill in the name and current address of that person.

                   Soriano, Shea Brianne
                   Name of your spouse, former spouse, or legal equivalent
                   5905 Leisure Run Rd
                   Number                 Street
                   Austin, TX 78745-3924
                   City                            State                         ZIP Code

               ✔ Yes. In which community state or territory did you live?
               ❑                                                                      Texas              . Fill in the name and current address of that person.

                   Soriano, Jose Paolo
                   Name of your spouse, former spouse, or legal equivalent
                   5905 Leisure Run Rd
                   Number                 Street
                   Austin, TX 78745-3924
                   City                            State                         ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                         Column 2: The creditor to whom you owe the debt

                                                                                                        Check all schedules that apply:
 3.1
        Name                                                                                            ❑ Schedule D, line
                                                                                                        ❑ Schedule E/F, line
        Number                          Street
                                                                                                        ❑ Schedule G, line
        City                                       State                                    ZIP Code




Official Form 106H                                                     Schedule H: Codebtors                                                           page 1 of 2
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                                              104
Debtor 1        Jose               Paolo            Soriano                      Case number (if known)
Debtor 2        Shea               Brianne          Soriano
                First Name         Middle Name     Last Name



                Additional Page to List More Codebtors

       Column 1: Your codebtor                                                       Column 2: The creditor to whom you owe the debt

                                                                                     Check all schedules that apply:
 3.2
       Name                                                                          ❑ Schedule D, line
                                                                                     ❑ Schedule E/F, line
       Number                    Street
                                                                                     ❑ Schedule G, line
       City                               State                         ZIP Code




Official Form 106H                                       Schedule H: Codebtors                                              page 2 of 2
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                                                      104
 Fill in this information to identify your case:

  Debtor 1                  Jose                   Paolo              Soriano
                           First Name              Middle Name       Last Name

  Debtor 2                  Shea                   Brianne            Soriano
  (Spouse, if filing)      First Name              Middle Name       Last Name                                             Check if this is:

                                                                 Western District of Texas
                                                                                                                           ❑ An amended filing
                                                                                                                           ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                                                                                                                 chapter 13 income as of the following date:
  (if known)

                                                                                                                              MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                              Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status                       ✔ Not Employed
                                                                          ❑ Employed ❑                                      ✔ Employed ❑ Not Employed
                                                                                                                            ❑
     attach a separate page with
     information about additional            Occupation
     employers.
                                             Employer's name                                                                PwC US Group LLP
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address                                                             PO Box Box 30004
     Occupation may include student                                        Number Street                                     Number Street
     or homemaker, if it applies.




                                                                                                                            Tampa, FL 33630
                                                                           City                     State   Zip Code         City                State     Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1   For Debtor 2 or
                                                                                                                       non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.            2.                $0.00              $10,870.84

 3. Estimate and list monthly overtime pay.                                                3.   +            $0.00     +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                           4.                $0.00              $10,870.84




Official Form 106I                                                         Schedule I: Your Income                                                              page 1
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                                                      104
 Debtor 1                 Jose                         Paolo                           Soriano
 Debtor 2                 Shea                         Brianne                         Soriano                                       Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.               $0.00              $10,870.84
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.              $0.00               $2,096.69
       5b. Mandatory contributions for retirement plans                                                        5b.              $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.              $0.00                 $553.99
       5d. Required repayments of retirement fund loans                                                        5d.              $0.00                    $0.00
       5e. Insurance                                                                                           5e.              $0.00                 $923.18
       5f. Domestic support obligations                                                                        5f.              $0.00                    $0.00
       5g. Union dues                                                                                          5g.              $0.00                    $0.00
       5h. Other deductions. Specify: See additional page                                                      5h. +            $0.00         +        $515.13
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.               $0.00               $4,088.99
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.               $0.00               $6,781.85
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.              $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.              $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.              $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.              $0.00                    $0.00
       8e. Social Security                                                                                     8e.              $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.              $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.              $0.00                    $0.00
       8h. Other monthly income. Specify: See additional page                                                  8h.   +      $1,000.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.           $1,000.00                     $0.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.          $1,000.00     +          $6,781.85          =         $7,781.85

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $7,781.85
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:
Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
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                                                   104
 Debtor 1            Jose             Paolo                 Soriano
 Debtor 2            Shea             Brianne               Soriano                         Case number (if known)
                     First Name       Middle Name           Last Name




                                                                                                                      Amount


   5h. Other Deductions For Debtor 2 or non-filing spouse
       Recognition Rew                                                                                                 $95.00
       Well Being Rew                                                                                                  $30.00
       Wellness (iFit)                                                                                                  $9.99
       Vision Plan                                                                                                      $8.00
       Dental                                                                                                          $41.00
       401k Roth                                                                                                      $170.65
       Group Legal                                                                                                     $17.50
       Vol Ben Hos Ind                                                                                                 $12.60
       Vol Ben Crit Il                                                                                                 $10.42
       Vol Ben Acc Ins                                                                                                 $15.12
       401k Loan 1                                                                                                    $104.85

   8h. Other monthly income For Debtor 1
       Side Job - Choice Roofing, LLC - paid through Zelle                                                           $1,000.00

   8h. Other monthly income For Debtor 2 or non-filing spouse
       401k Loan withdrawal                                                                                             $0.00
       Commission from accessories sold - The ReelReel                                                                  $0.00




Official Form 106I                                                Schedule I: Your Income                                page 3
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 Debtor 1            Jose               Paolo                 Soriano
 Debtor 2            Shea               Brianne               Soriano                           Case number (if known)
                     First Name         Middle Name           Last Name


   8a. Attached Statement
                                                       1806 E. 12th Street LLC (Skinny's)
   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                           $0.00
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
            Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                     $0.00

       3.   Other Expenses
            TOTAL OTHER EXPENSES                                                                                    $0.00
                                                                                                                            $0.00
       4.   TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       5.   AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                        $0.00




Official Form 106I                                                   Schedule I: Your Income                                 page 4
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                                                      104
 Fill in this information to identify your case:

  Debtor 1                  Jose                    Paolo                Soriano
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2                  Shea                    Brianne              Soriano
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Western District of Texas
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑ No. Go to line 2.
     ✔ Yes. Does Debtor 2 live in a separate household?
     ❑
             ✔ No
             ❑
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               1                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                      4.                $3,377.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                      4a.                     $0.00
     4b. Property, homeowner's, or renter's insurance                                                                           4b.                     $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                          4c.                 $100.00
     4d. Homeowner's association or condominium dues                                                                            4d.                     $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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                                                    104
 Debtor 1            Jose                   Paolo                Soriano
 Debtor 2            Shea                   Brianne              Soriano                                     Case number (if known)
                     First Name             Middle Name          Last Name


                                                                                                                             Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                 $280.00
       6b. Water, sewer, garbage collection                                                                        6b.                 $150.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                 $415.00

       6d. Other. Specify:                                                                                         6d.                       $0.00
 7.    Food and housekeeping supplies                                                                              7.                 $1,100.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                        $0.00

 10. Personal care products and services                                                                           10.                  $87.00

 11.   Medical and dental expenses                                                                                 11.                       $0.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                 $150.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                       $0.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                         15a.                $942.42
       15b. Health insurance                                                                                       15b.                      $0.00
       15c. Vehicle insurance                                                                                      15c.                $387.87

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1 2022 BMW x5                                                                 17a.               $1,561.89
       17b. Car payments for Vehicle 2 2024 Chevrolet Silverado 1500                                               17b.               $1,130.67
       17c. Other. Specify:                                                                                        17c.                      $0.00
       17d. Other. Specify:                                                                                        17d.                      $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00


Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
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 Debtor 1            Jose                Paolo                 Soriano
 Debtor 2            Shea                Brianne               Soriano                                      Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify: See Additional Page                                                                          21.    +             $343.46


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $10,025.31

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                    $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $10,025.31


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                $7,781.85

      23b. Copy your monthly expenses from line 22c above.                                                        23b.       –       $10,025.31
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                23c.               ($2,243.46)



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                 page 3
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 Debtor 1            Jose                Paolo                  Soriano
 Debtor 2            Shea                Brianne                Soriano                               Case number (if known)
                     First Name          Middle Name            Last Name




                                                                                                                               Amount


   6c. Telephone, cell phone, Internet, satellite, and cable services
       Cable/Internet                                                                                                          $250.00
       Cell Phone                                                                                                              $165.00

   21. Other
       Subscriptions                                                                                                           $100.00
       Shea Student Loans                                                                                                      $243.46




Official Form 106J                                                        Schedule J: Your Expenses                                page 4
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                                                      104
 Fill in this information to identify your case:

  Debtor 1                      Jose                        Paolo                    Soriano
                               First Name                  Middle Name              Last Name

  Debtor 2                      Shea                        Brianne                  Soriano
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                   Western District of Texas

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                    $544,523.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                         $182,905.15

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                    $727,428.15



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                            $631,680.90

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                 $157,212.76

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +       $3,420,802.36

                                                                                                                                                  Your total liabilities               $4,209,696.02

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $7,781.85


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                $10,025.31




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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Debtor 1            Jose                  Paolo                  Soriano
Debtor 2            Shea                  Brianne                Soriano                                           Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ❑ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
   ❑
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
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                                                      104
 Fill in this information to identify your case:

  Debtor 1                  Jose                   Paolo              Soriano
                            First Name             Middle Name       Last Name

  Debtor 2                  Shea                   Brianne            Soriano
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                       Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Jose Paolo Soriano                                             ✘ /s/ Shea Brianne Soriano
        Jose Paolo Soriano, Debtor 1                                        Shea Brianne Soriano, Debtor 2


        Date 12/20/2024                                                     Date 12/20/2024
                 MM/ DD/ YYYY                                                    MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
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                                                      104
 Fill in this information to identify your case:

  Debtor 1                  Jose                   Paolo              Soriano
                           First Name              Middle Name       Last Name

  Debtor 2                  Shea                   Brianne            Soriano
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

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                                                   104
Debtor 1            Jose              Paolo                  Soriano
Debtor 2            Shea              Brianne                Soriano                                         Case number (if known)
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                                ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
    From January 1 of current year until the
                                                    bonuses, tips                  $111,766.72             bonuses, tips
    date you filed for bankruptcy:
                                                ❑ Operating a business                                 ❑ Operating a business

    For last calendar year:                     ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                   $96,309.00             bonuses, tips
    (January 1 to December 31, 2023       )
                                   YYYY         ✔ Operating a business
                                                ❑                                  $140,000.00         ❑ Operating a business

    For the calendar year before that:          ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                   $99,663.00             bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:


    For last calendar year:
    (January 1 to December 31, 2023       )
                                   YYYY



    For the calendar year before that:
    (January 1 to December 31, 2022       )
                                   YYYY




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Debtor 1             Jose                         Paolo                Soriano
Debtor 2             Shea                         Brianne              Soriano                                        Case number (if known)
                     First Name                   Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
              ❑
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑ Yes.    Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                  Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                                  payment

             PennyMac Loan Services LLC                           12/01/2024                 $10,131.00               $532,779.00        ✔ Mortgage
                                                                                                                                         ❑
             Creditor's Name
                                                                                                                                         ❑ Car
                                                                  11/01/2024
                                                                                                                                         ❑ Credit card
             PO Box BOX 514387
             Number       Street
                                                                  10/01/2024                                                             ❑ Loan repayment
             Los Angeles, CA 90051
             City                         State      ZIP Code                                                                            ❑ Suppliers or vendors
                                                                                                                                         ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of           Total amount paid   Amount you still          Reason for this payment
                                                                payment                                owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




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Debtor 1             Jose                  Paolo                  Soriano
Debtor 2             Shea                  Brianne                Soriano                                         Case number (if known)
                     First Name            Middle Name            Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Nature of the case                      Court or agency                                  Status of the case

                                                     Alleged breach of Receivables
    Case title        ITRIA VENTURES
                                                     Sale Agreement (RSA),                  THE DISTRICT COURT OF                           ✔ Pending
                                                                                                                                            ❑
                      LLC, Plaintiff, v. 110
                      E. RIVERSIDE OPCO              Enforcement of security                TRAVIS COUNTY, TEXAS, 419TH,                    ❑ On appeal
                                                                                            DISTRICT COURT
                      LLC, 110 E.                    interest
                                                                                            Court Name                                      ❑ Concluded
                      RIVERSIDE
                                                                                            1000 Guadalupe St
                      MANAGER LLC, 110                                                      Number       Street
                      E. RIVERSIDE LLC,
                      JOSE PAOLO                                                            Austin, TX 78701
                                                                                            City                      State     ZIP Code
                      SORIANO, NOCO
                      HOSPITALITY LLC,
                      400 COLORADO
                      LLC, 504 W 24TH
                      STREET SUITE B
                      OPCO LLC, 720
                      SPACE ATX LLC,
                      1806 E. 12TH
                      STREET LLC, AND
                      2806 MANOR RD
                      LLC

    Case number D-1-GN-24-004867




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Debtor 1            Jose             Paolo                  Soriano
Debtor 2            Shea             Brianne                Soriano                                       Case number (if known)
                    First Name       Middle Name            Last Name

                                               Nature of the case                    Court or agency                               Status of the case

                                               Alleged breach of contract,
    Case title       Martin Amps v 720
                                               breach of fiduciary duty,            Travis County District Clerk -             ✔ Pending
                                                                                                                               ❑
                     Space ATX LLC and
                     Paolo Soriano             request for writ of mandamus         216th District Court
                                                                                    Court Name
                                                                                                                               ❑ On appeal
                                                                                    1000 Guadalupe St                          ❑ Concluded
    Case number D-1-GN-24-004317
                                                                                    Number       Street
                                                                                    Austin, TX 78701
                                                                                    City                    State   ZIP Code


                                               Alleged FLSA violations,
    Case title       MacKay Perry v.
                                               negligence, assault, intentional Travis County District Clerk                   ✔ Pending
                                                                                                                               ❑
                     NoCo Hospitality,
                     LLC et al.                infliction of emotional distress Court Name                                     ❑ On appeal
                                                                                                                               ❑ Concluded
                                                                                1000 Guadalupe St
    Case number 1:24-cv-00366-DI                                                    Number       Street
                                                                                    Austin, TX 78701
                                                                                    City                    State   ZIP Code


                                               Alleged breach of oral
    Case title       Michael Sellman v.
                                               contract, quantum meruit,            Travis County District Clerk               ✔ Pending
                                                                                                                               ❑
                     Paolo Soriano et al.
                                               promissory estoppel                  Court Name
                                                                                                                               ❑ On appeal
                                                                                                                               ❑ Concluded
    Case number C-1-CV-24-003306                                                    1000 Guadalupe St
                                                                                    Number       Street
                                                                                    Austin, TX 78701
                                                                                    City                    State   ZIP Code


                                               Alleged negligence
    Case title       Jesusa Bargas v.                                               Travis County District Clerk               ✔ Pending
                                                                                                                               ❑
                     NoCo Hospitality
                     LLC d/b/a Estelle's
                                                                                    Court Name
                                                                                                                               ❑ On appeal
                                                                                                                               ❑ Concluded
                                                                                    1000 Guadalupe St
                     Social Lounge
                                                                                    Number       Street
    Case number D-1-GN-24-003254                                                    Austin, TX 78701
                                                                                    City                    State   ZIP Code


                                               Negligence, gross negligence,
    Case title       Ricardo Alfonso
                                               vicarious liability, respondent   Travis County District Clerk                  ✔ Pending
                                                                                                                               ❑
                     Vega Castro v.
                     Biglari Holdings,         superior, negligent               Court Name
                                                                                                                               ❑ On appeal
                                                                                                                               ❑ Concluded
                                               hiring/supervision/training       1000 Guadalupe St
                     Inc., Maxim Inc., 10
                                               /retention/entrustment,           Number     Street
                     E. Riverside Opco
                     LLC d/b/a                 negligent infliction of           Austin, TX 78701
                     Superstition Austin,      emotional distress, intentional City                 State   ZIP Code
                     and Iron Sheath           infliction of emotional distress,
                     Protection Group          false imprisonment
                     LLC

    Case number D-1-GN-24-003753




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Debtor 1            Jose            Paolo                  Soriano
Debtor 2            Shea            Brianne                Soriano                                       Case number (if known)
                    First Name      Middle Name            Last Name

                                              Nature of the case                    Court or agency                               Status of the case

                                              Sexual assault, negligence,
    Case title       Jane Doe v. BRIAN
                                              gross negligence, dram shop          Travis County District Clerk               ✔ Pending
                                                                                                                              ❑
                     KERLEY, MICHAEL
                     INGRAM, JOHN             liability, negligence per se,        Court Name
                                                                                                                              ❑ On appeal
                                                                                                                              ❑ Concluded
                                              negligent undertaking,               1000 Guadalupe St
                     DOE, 110 E.
                                              respondent superior                  Number       Street
                     RIVERSIDE OPCO,
                     LLC, 110 E.                                                   Austin, TX 78701
                     RIVERSIDE                                                     City                    State   ZIP Code
                     MANAGER, LLC ,
                     110 E. RIVERSIDE,
                     LLC, NoCo
                     HOSPITALITY, LLC
                     and RDCWORLD,
                     LLC

    Case number D-1-GN-24-005617


    Case title       Allen Ojeda v NoCo                                            Travis County District Clerk               ✔ Pending
                                                                                                                              ❑
                     Hospitality, LLC and
                     Paolo Soriano
                                                                                   Court Name
                                                                                                                              ❑ On appeal
                                                                                                                              ❑ Concluded
                                                                                   1000 Guadalupe St
    Case number J1-CV-24-005630                                                    Number       Street
                                                                                   Austin, TX 78701
                                                                                   City                    State   ZIP Code


    Case title       Godspeed Talent vs                                            Travis County District Clerk               ✔ Pending
                                                                                                                              ❑
                     NoCo Hospitality                                              Court Name
                                                                                                                              ❑ On appeal
                                                                                                                              ❑ Concluded
    Case number J5-CV-24-273168                                                    1000 Guadalupe St
                                                                                   Number       Street
                                                                                   Austin, TX 78701
                                                                                   City                    State   ZIP Code


    Case title       Eastside Boilers vs                                           Travis County District Clerk               ✔ Pending
                                                                                                                              ❑
                     NoCo Hospitality                                              Court Name
                                                                                                                              ❑ On appeal
                                                                                                                              ❑ Concluded
    Case number J4-CV-24-003867                                                    1000 Guadalupe St
                                                                                   Number       Street
                                                                                   Austin, TX 78701
                                                                                   City                    State   ZIP Code


    Case title       Horizon Bank vs 720                                           Travis County District Clerk               ✔ Pending
                                                                                                                              ❑
                     Space ATX LLC                                                 Court Name
                                                                                                                              ❑ On appeal
                                                                                                                              ❑ Concluded
    Case number C-1-CV-24-005907                                                   1000 Guadalupe St
                                                                                   Number       Street
                                                                                   Austin, TX 78701
                                                                                   City                    State   ZIP Code


    Case title       2016 Tiger Terrance                                           Travis County District Clerk               ✔ Pending
                                                                                                                              ❑
                     vs Paolo Soriano,
                     1806 E 12th Street
                                                                                   Court Name
                                                                                                                              ❑ On appeal
                                                                                                                              ❑ Concluded
                                                                                   1000 Guadalupe St
    Case number C-1-CV-24-006318                                                   Number       Street
                                                                                   Austin, TX 78701
                                                                                   City                    State   ZIP Code




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Debtor 1            Jose                   Paolo                   Soriano
Debtor 2            Shea                   Brianne                 Soriano                                        Case number (if known)
                    First Name             Middle Name             Last Name



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                    Describe the property                                Date               Value of the property



    Creditor’s Name



    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code               ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name



    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




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Debtor 1             Jose                   Paolo                Soriano
Debtor 2             Shea                   Brianne              Soriano                                        Case number (if known)
                     First Name             Middle Name          Last Name

     Gifts with a total value of more than $600           Describe the gifts                                        Dates you gave       Value
     per person                                                                                                     the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities          Describe what you contributed                                Date you              Value
     that total more than $600                                                                                 contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                           Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




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Debtor 1            Jose                Paolo                Soriano
Debtor 2            Shea                Brianne              Soriano                                        Case number (if known)
                    First Name          Middle Name          Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred            Date payment or        Amount of payment
    Kannon Moore Law                                                                                       transfer was made
    Person Who Was Paid                       Attorney’s Fee
                                                                                                           11/08/2024                      $5,000.00
    7500 Rialto Blvd 1-250
    Number     Street




    Austin, TX 78735
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or        Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 1            Jose                 Paolo                Soriano
Debtor 2            Shea                 Brianne              Soriano                                        Case number (if known)
                    First Name           Middle Name          Last Name

                                               Description and value of property         Describe any property or payments               Date transfer was
                                               transferred                               received or debts paid in exchange              made

    Person Who Received Transfer



    Number      Street




    City                   State    ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of the property transferred                                         Date transfer was
                                                                                                                                         made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Last 4 digits of account number       Type of account or       Date account was           Last balance
                                                                                      instrument               closed, sold, moved, or    before closing or
                                                                                                               transferred                transfer
    VeraBank, National Association
                                                                                                                11/2024
    Name of Financial Institution               XXXX– 0       1    8      2         ✔ Checking
                                                                                    ❑
    1111 W 6th Street, 200                                                          ❑ Savings
    Number      Street
                                                                                    ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    Austin, TX 78703
    City                   State    ZIP Code




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Debtor 1            Jose                 Paolo                Soriano
Debtor 2            Shea                 Brianne              Soriano                                        Case number (if known)
                    First Name           Middle Name          Last Name

                                                Last 4 digits of account number       Type of account or       Date account was          Last balance
                                                                                      instrument               closed, sold, moved, or   before closing or
                                                                                                               transferred               transfer
    VeraBank, National Association
                                                                                                                11/2024
    Name of Financial Institution               XXXX– 5       8    6      9         ❑ Checking
    1111 W 6th Street, 200                                                          ✔ Savings
                                                                                    ❑
    Number      Street
                                                                                    ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    Austin, TX 78703
    City                   State    ZIP Code

    Horizon Bank
                                                                                                                2024
    Name of Financial Institution               XXXX– 5       0    1      0         ✔ Checking
                                                                                    ❑
    600 West 5th Street                                                             ❑ Savings
    Number      Street
                                                                                    ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    Austin, TX 78701
    City                   State    ZIP Code

    Horizon Bank
                                                                                                                2024
    Name of Financial Institution               XXXX– 0       6    0      2         ❑ Checking
    600 West 5th Street                                                             ✔ Savings
                                                                                    ❑
    Number      Street
                                                                                    ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    Austin, TX 78701
    City                   State    ZIP Code

    Horizon Bank
                                                                                                                2024
    Name of Financial Institution               XXXX– 8       2    9      5         ❑ Checking
    600 West 5th Street                                                             ✔ Savings
                                                                                    ❑
    Number      Street
                                                                                    ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    Austin, TX 78701
    City                   State    ZIP Code

    VeraBank, National Association
                                                                                                                2024
    Name of Financial Institution               XXXX– 5       8    2      8         ✔ Checking
                                                                                    ❑
    1111 W 6th Street, 200                                                          ❑ Savings
    Number      Street
                                                                                    ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    Austin, TX 78703
    City                   State    ZIP Code




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Debtor 1            Jose                 Paolo                  Soriano
Debtor 2            Shea                 Brianne                Soriano                                         Case number (if known)
                    First Name           Middle Name            Last Name

                                                Last 4 digits of account number            Type of account or    Date account was          Last balance
                                                                                           instrument            closed, sold, moved, or   before closing or
                                                                                                                 transferred               transfer
    VeraBank, National Association
                                                                                                                   2024
    Name of Financial Institution               XXXX– 7        4     9      3          ✔ Checking
                                                                                       ❑
    1111 W 6th Street, 200                                                             ❑ Savings
    Number      Street
                                                                                       ❑ Money market
                                                                                       ❑ Brokerage
                                                                                       ❑ Other
    Austin, TX 78703
    City                   State    ZIP Code

    VeraBank, National Association
                                                                                                                   2024
    Name of Financial Institution               XXXX– 9        0     5      1          ✔ Checking
                                                                                       ❑
    1111 W 6th Street, 200                                                             ❑ Savings
    Number      Street
                                                                                       ❑ Money market
                                                                                       ❑ Brokerage
                                                                                       ❑ Other
    Austin, TX 78703
    City                   State    ZIP Code

    VeraBank, National Association
                                                                                                                   2024
    Name of Financial Institution               XXXX– 8        9     6      2          ✔ Checking
                                                                                       ❑
    1111 W 6th Street, 200                                                             ❑ Savings
    Number      Street
                                                                                       ❑ Money market
                                                                                       ❑ Brokerage
                                                                                       ❑ Other
    Austin, TX 78703
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Who else had access to it?                    Describe the contents                      Do you still have
                                                                                                                                            it?

                                                                                                                                           ❑ No
    Name of Financial Institution               Name
                                                                                                                                           ❑ Yes

    Number      Street                          Number      Street



                                                City                 State      ZIP Code

    City                   State    ZIP Code




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                                                    104
Debtor 1            Jose                 Paolo                  Soriano
Debtor 2            Shea                 Brianne                Soriano                                        Case number (if known)
                    First Name           Middle Name            Last Name



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                   Who else has or had access to it?          Describe the contents                          Do you still have
                                                                                                                                             it?
                                                                                              Business files, work related
    Public Storage                                                                            document storage.                            ❑ No
    Name of Storage Facility                    Name                                                                                       ✔ Yes
                                                                                                                                           ❑
    1507 W William Cannon Dr
    Number     Street                           Number      Street



                                                City                  State    ZIP Code
    Austin, TX 78745
    City                    State    ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Where is the property?                     Describe the property                          Value



    Owner's Name
                                                Number      Street



    Number     Street

                                                City                 State    ZIP Code



    City                   State    ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
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Debtor 1            Jose                Paolo                   Soriano
Debtor 2            Shea                Brianne                 Soriano                                      Case number (if known)
                    First Name          Middle Name             Last Name

                                               Governmental unit                       Environmental law, if you know it              Date of notice



    Name of site                              Governmental unit



    Number       Street                       Number       Street



                                              City                  State   ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                       Environmental law, if you know it              Date of notice



    Name of site                              Governmental unit



    Number       Street                       Number       Street



                                              City                  State   ZIP Code


    City                   State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Court or agency                         Nature of the case                             Status of the case



    Case title                                                                                                                        ❑ Pending
                                                                                                                                      ❑ On appeal
                                              Court Name


                                                                                                                                      ❑ Concluded
                                              Number       Street


    Case number
                                              City                  State   ZIP Code




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                                                     104
Debtor 1            Jose                  Paolo                   Soriano
Debtor 2            Shea                  Brianne                 Soriano                                            Case number (if known)
                    First Name            Middle Name             Last Name
 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ✔ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ✔ A partner in a partnership
           ❑
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    Noco Hospitality LLC                                                                                     Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:    8    7 – 4   5     8    0   5   0   8


                                                    Name of accountant or bookkeeper                         Dates business existed
    1000 E Ceaser Chavez
    Number        Street
                                                                                                              From 01/18/2022 To
    Austin, TX 78702
    City                    State   ZIP Code

                                                    Describe the nature of the business                      Employer Identification number
    720 Space ATX LLC                                                                                        Do not include Social Security number or ITIN.
    Name
                                                   42% Ownership
                                                                                                              EIN:    8    5 – 2   2     2    4   7   6   4
    dba Higher Ground

    720 Congress Ave.                               Name of accountant or bookkeeper                         Dates business existed
    Number        Street
                                                                                                              From 07/2020          To
    Austin, TX 78701
    City                    State   ZIP Code

                                                    Describe the nature of the business                      Employer Identification number
    110 E Riverside OpCo LLC                                                                                 Do not include Social Security number or ITIN.
    Name
                                                   10% ownership
                                                                                                              EIN:    8    7 – 2   4     8    9   3   5   3
    dba Superstition

    110 E. Riverside Dr.                            Name of accountant or bookkeeper                         Dates business existed
    Number        Street
                                                                                                              From 11/2021          To
    Austin, TX 78704
    City                    State   ZIP Code

                                                    Describe the nature of the business                      Employer Identification number
    400 Colorado LLC                                                                                         Do not include Social Security number or ITIN.
    Name
                                                   50% ownership
                                                                                                              EIN:    9    2 – 2   9     5    5   5   2   0
    dba Estelle's

    400 Colorado St                                 Name of accountant or bookkeeper                         Dates business existed
    Number        Street
                                                                                                              From                  To
    Austin, TX 78701
    City                    State   ZIP Code




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Debtor 1            Jose                Paolo                 Soriano
Debtor 2            Shea                Brianne               Soriano                                        Case number (if known)
                    First Name          Middle Name            Last Name

                                                  Describe the nature of the business                Employer Identification number
    504 W 24th Street Suite B OpCo                                                                   Do not include Social Security number or ITIN.
    LLC                                        50% ownership
    Name                                                                                              EIN:    9   3 – 2    1     5    7   2   8   4

    dba Victory Lap
                                                  Name of accountant or bookkeeper                   Dates business existed
    504 W 24th St Suite B
    Number    Street                                                                                  From                  To

    Austin, TX 78705
    City                   State   ZIP Code

                                                  Describe the nature of the business                Employer Identification number
    1806 E. 12th Street LLC                                                                          Do not include Social Security number or ITIN.
    Name
                                               68% ownership
                                                                                                      EIN:    8   7 – 2    9     8    1   6   1   4
    dba Skinny's

    1806 E. 12th St.                              Name of accountant or bookkeeper                   Dates business existed
    Number    Street
                                                                                                      From                  To
    Austin, TX 78702
    City                   State   ZIP Code

                                                  Describe the nature of the business                Employer Identification number
    110 E. Riverside LLC                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                      EIN:    8   7 – 2    4     8    9   3   5   3
    dba Superstition

    110 E. Riverside Dr.                          Name of accountant or bookkeeper                   Dates business existed
    Number    Street
                                                                                                      From                  To
    Austin, TX 78704
    City                   State   ZIP Code

                                                  Describe the nature of the business                Employer Identification number
    110 E. Riverside MGMT LLC                                                                        Do not include Social Security number or ITIN.
    Name
                                                                                                      EIN:    8   7 – 3    5     6    2   1   7   2
    dba Superstition

    110 E. Riverside Dr.                          Name of accountant or bookkeeper                   Dates business existed
    Number    Street
                                                                                                      From                  To
    Austin, TX 78704
    City                   State   ZIP Code

                                                  Describe the nature of the business                Employer Identification number
    2405 Nueces Street Suite G                                                                       Do not include Social Security number or ITIN.
    OpCo LLC
    Name                                                                                              EIN:    9   3 – 2    1     7    8   5   7   0


                                                  Name of accountant or bookkeeper                   Dates business existed
    2405 Nueces Street Suite G
    Number    Street                                                                                  From                  To

    Austin, TX 78705
    City                   State   ZIP Code




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Debtor 1            Jose                Paolo                   Soriano
Debtor 2            Shea                Brianne                 Soriano                                      Case number (if known)
                    First Name          Middle Name             Last Name

                                                  Describe the nature of the business                Employer Identification number
     Turning Point Drivers LLC                                                                       Do not include Social Security number or ITIN.
    Name

                                                                                                      EIN:             –
     dba Turning Point Drivers

     5905 Leisure Run Rd                          Name of accountant or bookkeeper                   Dates business existed
    Number     Street
                                                                                                      From                  To
     Austin, TX 78745
    City                   State   ZIP Code

                                                  Describe the nature of the business                Employer Identification number
     10-16-19 Holdings                                                                               Do not include Social Security number or ITIN.
    Name
                                                                                                      EIN:    8   5 – 2    2     5    6   3   9   0


                                                  Name of accountant or bookkeeper                   Dates business existed
     1000 E Cesar Chavez
    Number     Street
                                                                                                      From                  To
     Austin, TX 78702
    City                   State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                  Date issued



    Name                                       MM / DD / YYYY



    Number     Street




    City                   State   ZIP Code




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 17
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                                                   104
 Debtor 1           Jose                Paolo                 Soriano
 Debtor 2           Shea                Brianne               Soriano                                       Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Jose Paolo Soriano                                       ✘ /s/ Shea Brianne Soriano
        Signature of Jose Paolo Soriano, Debtor 1                      Signature of Shea Brianne Soriano, Debtor 2


        Date 12/20/2024                                                Date 12/20/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 18
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                                                      104
 Fill in this information to identify your case:

  Debtor 1                  Jose                   Paolo              Soriano
                           First Name              Middle Name       Last Name

  Debtor 2                  Shea                   Brianne            Soriano
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                                                                                                                    ❑ Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral            What do you intend to do with the property that secures Did you claim the property as
                                                                          a debt?                                                 exempt on Schedule C?

    Creditor’s                                                            ❑ Surrender the property.                                ❑ No
    name:               PennyMac Loan Services LLC
                                                                          ❑ Retain the property and redeem it.                     ✔ Yes
                                                                                                                                   ❑
    Description of
    property
                        Homestead
                        5905 Leisure Run Rd Austin, TX 78745-3924
                                                                          ✔ Retain the property and enter into a
                                                                          ❑
    securing debt:                                                               Reaffirmation Agreement.
                                                                          ❑ Retain the property and [explain]:

    Creditor’s                                                            ❑ Surrender the property.                                ❑ No
    name:               BMW BANK OF NORTH AMERICA
                                                                          ❑ Retain the property and redeem it.                     ✔ Yes
                                                                                                                                   ❑
    Description of
    property
                        2022 BMW x5
                                                                          ✔ Retain the property and enter into a
                                                                          ❑
    securing debt:                                                               Reaffirmation Agreement.
                                                                          ❑ Retain the property and [explain]:




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
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                                                   104
 Debtor 1            Jose               Paolo                 Soriano
 Debtor 2            Shea               Brianne               Soriano                                        Case number (if known)
                     First Name         Middle Name            Last Name




         Additional Page for Part 1

    Creditor’s                                                      ❑ Surrender the property.                                   ✔ No
                                                                                                                                ❑
    name:              Ally Financial
                                                                    ❑ Retain the property and redeem it.                        ❑ Yes
    Description of
    property
                       2024 Chevrolet Silverado 1500
                                                                    ✔ Retain the property and enter into a
                                                                    ❑
    securing debt:                                                         Reaffirmation Agreement.
                                                                    ❑ Retain the property and [explain]:




Official Form 108                                 Statement of Intention for Individuals Filing Under Chapter 7                         page 2
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                                                   104
 Debtor 1            Jose                   Paolo                 Soriano
 Debtor 2            Shea                   Brianne               Soriano                                      Case number (if known)
                     First Name             Middle Name            Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                           Will the lease be assumed?
    Lessor’s name:                Public Storage                                                                                ❑ No
                                                                                                                                ✔ Yes
                                                                                                                                ❑
    Description of leased
    property:                     Storage Unit

    Lessor’s name:                                                                                                              ❑ No
                                                                                                                                ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                              ❑ No
                                                                                                                                ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                              ❑ No
                                                                                                                                ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                              ❑ No
                                                                                                                                ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                              ❑ No
                                                                                                                                ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                              ❑ No
                                                                                                                                ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Jose Paolo Soriano                                       ✘ /s/ Shea Brianne Soriano
      Signature of Debtor 1                                          Signature of Debtor 2


      Date 12/20/2024                                                Date 12/20/2024
            MM/ DD/ YYYY                                                   MM/ DD/ YYYY



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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Western District of Texas

In re        Soriano, Jose Paolo

             Soriano, Shea Brianne                                                                                         Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $5,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $5,000.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        12/20/2024                                              /s/ Kannon Moore
                Date                                         Kannon Moore
                                                             Signature of Attorney
                                                                                           Bar Number: 24110128
                                                                                               Kannon Moore Law
                                                                                            7500 Rialto Blvd 1-250
                                                                                                 Austin, TX 78735
                                                                                           Phone: (512) 379-8080

                                                                               Kannon Moore Law
                                                            Name of law firm




                                                                 Page 2 of 2
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 Fill in this information to identify your case:      104
  Debtor 1                     Jose                   Paolo              Soriano
                               First Name             Middle Name       Last Name

  Debtor 2                     Shea                   Brianne            Soriano
  (Spouse, if filing)          First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                           Western District of Texas

  Case number
  (if known)
                                                                                                                  ❑ Check if this is an amended filing

Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                           12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are exempted from a
presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the exclusions in this statement applies
to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).



 Part 1: Identify the Kind of Debts You Have

        1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal,
           family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition (Official Form
           101).
           ✔ No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
           ❑
                        this supplement with the signed Form 122A-1.
           ❑ Yes. Go to Part 2.

 Part 2: Determine Whether Military Service Provisions Apply to You

        2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           ❑ No. Go to line 3.
           ❑ Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                        10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                        ❑ No. Go to line 3.
                        ❑ Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part
                                  3. Then submit this supplement with the signed Form 122A-1.


        3. Are you or have you been a Reservist or member of the National Guard?
           ❑ No. Complete Form 122A-1. Do not submit this supplement.
           ❑ Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
             ❑ No. Complete Form 122A-1. Do not submit this supplement.
             ❑ Yes. Check any one of the following categories that applies:
                ❑ I was called to active duty after September 11, 2001, for at least 90 days          If you checked one of the categories to the left, go to
                         and remain on active duty.                                                      Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                                         check box 3, The Means Test does not apply now, and
                   ❑ I was called to active duty after September 11, 2001, for at least 90 days          sign Part 3. Then submit this supplement with the signed
                                                                                                         Form 122A-1. You are not required to fill out the rest of
                         and was released from active duty on                       , which is fewer
                                                                                                         Official Form 122A-1 during the exclusion period. The
                         than 540 days before I file this bankruptcy case.
                                                                                                         exclusion period means the time you are on active duty or
                   ❑ I am performing a homeland defense activity for at least 90 days.                   are performing a homeland defense activity, and for 540
                                                                                                         days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                   ❑ I performed a homeland defense activity for at least 90 days, ending on
                                            , which is fewer than 540 days before I file this            If your exclusion period ends before your case is closed,
                         bankruptcy case.                                                                you may have to file an amended form later




 Official Form 122A-1Supp                      Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                            page 1
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                                                                         Check one box only as directed in this form and in
 Fill in this information to identify your case:      104                Form 122A-1Supp:
  Debtor 1                  Jose                   Paolo                Soriano                               ✔ 1. There is no presumption of abuse.
                                                                                                              ❑
                           First Name              Middle Name          Last Name
                                                                                                              ❑ 2. The calculation to determine if a presumption
  Debtor 2                  Shea                   Brianne              Soriano                                  of abuse applies will be made under Chapter 7
  (Spouse, if filing)      First Name              Middle Name          Last Name                                Means Test Calculation (Official Form 122A-2).

  United States Bankruptcy Court for the:                        Western District of Texas                    ❑ 3. The Means Test does not apply now because
                                                                                                                 of qualified military service but it could apply later.
  Case number
  (if known)                                                                                                  ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                               12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ❑ Married and your spouse is NOT filing with you. You and your spouse are:
        ❑ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                          Column A             Column B
                                                                                                          Debtor 1             Debtor 2 or
                                                                                                                               non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).
 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.
 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.
 5. Net income from operating a business, profession,
                                                                        Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                      -               -
                                                                                                   Copy
     Net monthly income from a business, profession, or farm                                       here
                                                                                                   →

 6. Net income from rental and other real property                      Debtor 1        Debtor 2
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                      -               -
                                                                                                   Copy
     Net monthly income from rental or other real property                                         here
                                                                                                   →

 7. Interest, dividends, and royalties

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Debtor 1           Jose       Paolo          Soriano
Debtor 2           Shea       Brianne        Soriano
                                                     104
                                                                                                                                          Case number (if known)
                           First Name                     Middle Name                       Last Name
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................
           For your spouse......................................................................
       9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                            +                               +

       11. Calculate your total current monthly income. Add lines 2 through 10 for                                                                         +                        =
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                        Total current
                                                                                                                                                                                    monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →

            Multiply by 12 (the number of months in a year).                                                                                                                            X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.

13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.

    Fill in the median family income for your state and size of household.................................................................................................... 13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?

    14a. ❑ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
           Go to Part 3.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                        page 2
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Debtor 2        Shea        Brianne       Soriano
                                                   104
                                                                                                              Case number (if known)
                   First Name            Middle Name              Last Name

Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Jose Paolo Soriano                                                             ✘ /s/ Shea Brianne Soriano
       Signature of Debtor 1                                                                Signature of Debtor 2

       Date 12/20/2024                                                                      Date 12/20/2024
              MM/ DD/ YYYY                                                                        MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




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Debtor 2        Shea        Brianne       Soriano
                                                   104
                                                                                                    Case number (if known)
                  First Name        Middle Name         Last Name




        Additional Page For 122A-1


                                                                                         Column A              Column B
                                                                                         Debtor 1              Debtor 2 or
                                                                                                               non-filing spouse
10.    Cont.
      Side Job - Choice Roofing, LLC - paid through Zelle                                       $333.33
      Wire Transfer from Resilience LLC - Consulting
      earnings                                                                                $2,500.00
      Guardian Life insurance - loan borrowed against the
      cash value life insurance                                                                 $306.55
      Bank transfer from Toast Customer                                                         $166.67
      Wire Transfer from 12th Street LLC - partial
      repayment of a loan Debtor gave Skinny's                                                  $833.33
      Transfers from x5851, x0182, x3685, x2503 -
      Reimbursements for staff payroll that Debtor paid
      personally or were reimbursement for supplies
      Debtor paid out of pocket for.                                                        $13,361.06
      401k Loan withdrawal                                                                                              $2,500.00
      Commission from accessories sold - The ReelReel                                                                        $55.63




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                                          104
                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                       WESTERN DISTRICT OF TEXAS
                                                             AUSTIN DIVISION

IN RE: Soriano, Jose Paolo                                                            CASE NO
       Soriano, Shea Brianne
                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     12/20/2024             Signature                             /s/ Jose Paolo Soriano
                                                                       Jose Paolo Soriano, Debtor


Date     12/20/2024             Signature                            /s/ Shea Brianne Soriano
                                                                   Shea Brianne Soriano, Joint Debtor
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                                               104

2016 Tiger Terrance                   968 W Veterans Realty LLC            Allen Ojeda
c/o Abigal Ventress                   dba Aspire Funding Platform          12800 Briar Forest Dr #45
4-6 N Lee Street Suite 103            7901 4TH ST N STE 300                Houston, TX 77077
Round Rock, TX 78664                  Saint Petersburg, FL 33702



Ally Financial                        American Express                     Blake Rasner Rasner
Po Box 380901                         Po Box 6031                          100 N Ritchie Road #200
Minneapolis, MN 55438                 Carol Stream, IL 60197-6031          Woodway, TX 76712




BMW BANK OF NORTH                     Capital One                          Carter Sackman Jr.
AMERICA                               Po Box 31293                         2308 Holly Street
P.O. BOX 78066                        Salt Lake Cty, UT 84131-0293         Austin, TX 78702
Phoenix, AZ 85062



Comprehensive Merchant                Department of Education              Dept of Ed / Nelnet
9821 E. Bay Harbor Dr. 706 706        Office of General Counsel            Po Box 82561
Miami Beach, FL 33154                 400 Maryland Ave, SW Room 6E353      Lincoln, NE 68501-2561
                                      Washington, DC 20202



Divvy Loans                           Eastside Boilers                     First United Bank
BILL's                                c/o Gregory Pitt                     P.O. BOX 130
6220 America Center Drive suite 100   160 Wildhorse Crk                    Durant, OK 74702
Alviso, CA 95002                      Buda, TX 78610



Funding Metrics LLC                   Godspeed Talent                      Greenberg, Grant & Richards
3220 Tillman Drive Suite 200          c/o Sam Kulka                        Inc
Bensalem, PA 19020                    2607 Trailside Dr #3                 5858 Westheimer Road Suite 500
                                      Austin, TX 78704                     Houston, TX 77057



Horizon Bank                          inKind Cards Inc.                    Internal Revenue Service
600 W 5th Street                      inKind Credit Fund LP                Centralized Insolvency Office
Austin, TX 78701                      600 Congress Ave 1700                P.O. Box 7346
                                      Austin, TX 78701                     Philadelphia, PA 19101



IRS Insolvency Office                 Itria Ventures LLC                   Jane Doe
300 E. 8th St. Mail Stop 5026AUS      1 Penn Plaza #4915                   c/o Louie Cook
Austin, TX 78701                      New York, NY 10119                   653 Everhard RD STE 105
                                                                           Corpus Christi, TX 78411



Jesusa Bargas                         JPMCB - Card Services                Mackay Perry
c/o Dario Bargas JR                   301 N Walnut St                      c/o Emily Frost
5114 Balcones Woods Drive Ste 307     Wilmington, DE 19801-4050            2499 S Capital of Texas Hwy
Austin, TX 78759                                                           Austin, TX 78746



Martin Amps                           Michael Sellman                      Nathan Richardson
c/o Austin Kirst                      c/o Boone A. Almanza                 ATTN: Counsel for Itria Ventures
303 Camp Craft Rd. Suite 325          2301 S Capital of Texas HWY BLDG H   1415 Louisiana Street Suite 2100
Austin, TX 78746                      Austin, TX 78746                     Houston, TX 77002
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Nicholas J. Zabala, Law Office    Pacific Seafood Group             PennyMac Loan Services LLC
LLC                               3019 NE Interstate 410 Loop       PO Box BOX 514387
P.O. Box 1359                     San Antonio, TX 78218             Los Angeles, CA 90051
Bensalem, PA 19020



Public Storage                    Ricardo Alfonso Vega Castro       Rich Gottbrath
1507 W William Cannon Dr          c/o John Duff                     1602 S 3rd
Austin, TX 78745                  719 S Shoreline BLVD              Austin, TX 78704
                                  Corpus Christi, TX 78401



Ryan Keas                         Ryan OMalley                      Samuel Coon
8001 S I35 Frontage Rd 621        218 8th street                    3939 Bee Cave Road
Austin, TX 78744                  Hermosa Beach, CA 90254           Austin, TX 78746




Sofi Bank                         Sysco Credit Department           Texas Comptroller
2750 E Cottonwood Pkwy            2130 Queens Chapel Rd             Lyndon B. Johnson State Office Bldg
Salt Lake City, UT 84121          Washington, DC 20018              111 East 17th Street
                                                                    Austin, TX 78774



Texas Workforce Commission        Travis County District Clerk      United States Trustee - AU12
Regulatory Integrity Division     1000 Guadalupe St                 903 San Jacinto Blvd. Ste 230
101 E 15th St 556                 Austin, TX 78701                  Austin, TX 78701-2450
Austin, TX 78778



United States Attorney            United States Attorney            University Federal Credit
Civil Process Clerk- IRS          General                           Union
601 N.W. Loop 410 Ste 600         Department of Justice             8303 N MOPAC EXPY
San Antonio, TX 78216             950 Pennsylvania Avenue, N.W.     Austin, TX 78759
                                  Washington, DC 20530


VeraBank, National
Association
1111 W 6th Street, 200
Austin, TX 78703
